                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                  No. 5:20-cv-88-BO


LISA FA YE REGINO,                           )
                                             )
                Plaintiff,                   )
                                             )
       V.                                    )                      ORDER
                                             )
ETHICON, INC. and                            )
JOHNSON & JOHNSON,                           )
                                             )
                Defendants.                  )




       This matter comes before the Court sua sponte based on its authority to manage its

docket. Part of MDL 2327 ("Eth icon MDL"), the case was recently transferred to this Court from

the Southern District of West Virginia. In its transfer order, the MDL court indicated that

discovery has been completed and the parties have had the opportunity to file dispositive and

Daubert motions, responses, and replies. The case was transferred to this district to promote final

resolution.

       Pending on the docket is defendants ' motion for partial summary judgment with respect

to many of the Counts listed on plaintiffs short form complaint. In her response, plaintiff

indicates that she will not pursue the Counts li sted in defendants' summary judgment motion at

trial. Plaintiff intends to pursue only claims for Negligence - Negligent Failure to Warn and

 egligent Design (Count I) and Punitive Damages (Count XVII) at trial. Plaintiff requests that

defendants ' motion be denied as moot.




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       The Court construes plaintiffs response as voluntary dismissal of all claims except those

enumerated in Counts I and XVII. Accordingly, with the exceptions of Counts I and XVII,

plaintiffs claims are DISMISSED. Defendants ' motion for partial summary judgment [DE 20] is

DENIED WITHOUT PREJUDICE AS MOOT.

       In the coming weeks, the Court will schedule a status conference to discuss resolution of

the case, including any issues remaining before trial.



       SO ORDERED, this         /   7 day of March, 2020.
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                                              TERRENCE W. BOYLE
                                              CHIEF UNITED ST ATES DIS~DGE




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